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 Attorneys for Brent Smith

                         IN THE UNITED STATE DISTRICT COURT
                                        DISTRICT OF UTAH

   3457 HARRISON BLVD, LLC, a Utah
   limited liability company;                          NOTICE OF SUBSTITUTION OF
                                                               COUNSEL
           Plaintiff,

   vs.
                                                             Civil No. 2:23-CV-00936
   DANE GRAHAM, an individual; JACOB
   BAILEY, an individual; KENNETH R.                       Judge Ann Marie McIff Allen
   SILER, an individual; DAVID H.
   BECKSTRAND, an individual; and DOES 1-              Magistrate Judge Cecilia M. Romero
   20;

           Defendants.



         PLEASE TAKE NOTICE that John E. Keiter of and for the law firm Keiter Law, P.C.

 hereby enters his appearance in the above referenced matter for and on behalf of Brent Smit. Mr.

 Keiter’s appearance is in substitution for attorneys at Parr Brown Gee & Loveless. Please send

 future notice and correspondence to:




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      DATED: September 24, 2024.

                                             KEITER LAW, P.C.

                                              /s/   John E. Keiter
                                             John E. Keiter
                                             Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on September 24, 2024, I electronically filed a true and correct
 copy of the foregoing document ECF system which sent notification of such filing to the
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